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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


WILLIAM SPILLMAN and
KATRINA GARCIA SPILLMAN,

       Plaintiffs,                                          No.: 1:19-cv-00660-RB-LF

vs.

METROPOLITAN LIFE INSURANCE
COMPANY and VERIZON WIRELESS,

       Defendants.


                METLIFE’S ANSWER TO THE AMENDED COMPLAINT

       Defendant Metropolitan Life Insurance Company (“MetLife”) responds to the amended

complaint of plaintiffs William Spillman (“Mr. Spillman”) and Katrina Garcia Spillman (“Mrs.

Spillman”) (collectively “the Spillmans”).

       1.      MetLife admits the allegations of paragraph 1 of the amended complaint.

       2.      MetLife admits the allegations of paragraph 2 of the amended complaint.

       3.      In response to paragraph 3 of the amended complaint, MetLife admits that it is a

New York corporation, admits that it does business in New Mexico, denies that it is the Plan

Administrator the Verizon Wireless Short Term Disability Plan (“Plan”), and admits that it is the

claim administrator responsible for the determination of claims for short term disability (“STD”)

benefits under the Plan.

       4.      MetLife lacks sufficient information to admit or to deny the allegations of

paragraph 4 of the amended complaint.
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       5.      In response to paragraph 5 of the amended complaint, MetLife admits that venue

is proper before the Court, denies that state law determines venue before this Court, denies that

the Plan was delivered to plaintiff Mr. Spillman, denies that Mrs. Spillman is a participant in the

Plan, admits that Mr. Spillman is an employee of defendant Cellco Partnership d/b/a Verizon

Wireless (“Verizon Wireless”), lacks sufficient information to admit or to deny the allegations

about the place of Mr. Spillman’s employment,, and denies the other allegations of this paragraph

of the amended complaint.

       6.      In response to the second paragraph of the amended complaint labeled as

paragraph “1” of the amended complaint, MetLife admits that Mr. Spillman was an employee of

Verizon Wireless during the relevant time period, admits that Mr. Spillman was a participant in

the Plan during the relevant time period, and denies the other allegations of this paragraph of the

amended complaint.

       7.      In response to the second paragraph of the amended complaint labeled as

paragraph “2” of the amended complaint, MetLife admits that the Plan provides short term

disability (“STD”) benefits to eligible participants who have satisfied the Plan’s terms and

conditions, admits that Verizon Wireless self-funds the STD benefits, denies the allegations of

this paragraph to the extent that the Spillmans seek to argue that Mr. Spillman was entitled to

receive STD benefits under the Plan, and denies the other allegations of this paragraph of the

amended complaint.

       8.      In response to the second paragraph of the amended complaint labeled as

paragraph “3” of the amended complaint, MetLife admits that Verizon Wireless was Mr.

Spillman’s employer during the relevant time period, admits that Verizon Wireless self-funds the


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STD benefits, denies that Verizon Wireless pays a premium for the STD benefits, denies the

allegations of this paragraph to the extent that the Spillmans seek to argue that Mr. Spillman was

entitled to receive STD benefits under the Plan, and denies the other allegations of this paragraph

of the amended complaint.

       9.      In response to the second paragraph of the amended complaint labeled as

paragraph “4” of the amended complaint, MetLife admits that Verizon Wireless was Mr.

Spillman’s employer during the relevant time period, admits that Verizon Wireless self-funds the

STD benefits, denies that Verizon Wireless pays a premium for the STD benefits, denies the

allegations of this paragraph to the extent that the Spillmans seek to argue that Mr. Spillman was

entitled to receive STD benefits under the Plan, and denies the other allegations of this paragraph

of the amended complaint.

       10.     MetLife, on information and belief, admits the allegations of the second paragraph

of the amended complaint labeled as paragraph “5” of the amended complaint.

       11.     In response to the second paragraph of the amended complaint labeled as

paragraph “6” of the amended complaint, MetLife admits that the Spillmans have quoted a

provision of the Plan’s Summary Plan Description regarding STD benefits, denies the allegations

to the extent the Spillmans seek to argue that Mr. Spillman was entitled to receive STD benefits

under the Plan, and denies the other allegations of this paragraph of the amended complaint.

       12.     In response to paragraph 7 of the amended complaint, MetLife admits that the

Spillmans have quoted a provision of the Plan’s Summary Plan Description regarding STD

benefits, denies the allegations to the extent the Spillmans seek to argue that Mr. Spillman was




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entitled to receive STD benefits under the Plan, and denies the other allegations of this paragraph

of the amended complaint.

       13.     In response to paragraph 8 of the amended complaint, MetLife admits the

allegations to the extent that the Spillmans have accurately summarized information in the

ERISA administrative record, denies that the information in the ERISA administrative record

supported the approval of Mr. Spillman’s STD claim, denies the allegations to the extent the

Spillmans seek to argue that Mr. Spillman was entitled to receive STD benefits under the Plan,

and denies the other allegations of this paragraph of the amended complaint.

       14.     In response to paragraph 9 of the amended complaint, MetLife admits the

allegations to the extent that the Spillmans have accurately summarized information in the

ERISA administrative record, denies that the information in the ERISA administrative record

supported the approval of Mr. Spillman’s STD claim, denies the allegations to the extent the

Spillmans seek to argue that Mr. Spillman was entitled to receive STD benefits under the Plan,

and denies the other allegations of this paragraph of the amended complaint.

       15.     In response to paragraph 10 of the amended complaint, MetLife admits the

allegations to the extent that the Spillmans have accurately summarized information in the

ERISA administrative record, denies that the information in the ERISA administrative record

supported the approval of Mr. Spillman’s STD claim, denies the allegations to the extent the

Spillmans seek to argue that Mr. Spillman was entitled to receive STD benefits under the Plan,

and denies the other allegations of this paragraph of the amended complaint.

       16.     In response to paragraph 11 of the amended complaint, MetLife admits the

allegations to the extent that the Spillmans have accurately summarized information in the


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ERISA administrative record, denies that the information in the ERISA administrative record

supported the approval of Mr. Spillman’s STD claim, denies the allegations to the extent the

Spillmans seek to argue that Mr. Spillman was entitled to receive STD benefits under the Plan,

and denies the other allegations of this paragraph of the amended complaint.

       17.     In response to paragraph 12 of the amended complaint, MetLife admits the

allegations to the extent that the Spillmans have accurately summarized information in the

ERISA administrative record, denies that the clinical information in the ERISA administrative

record supported the approval of Mr. Spillman’s STD claim, denies the allegations to the extent

the Spillmans seek to argue that Mr. Spillman was entitled to receive STD benefits under the

Plan, and denies the other allegations of this paragraph of the amended complaint.

       18.     In response to paragraph 13 of the amended complaint, MetLife admits that Mr.

Spillman submitted a claim under the Family Medical Leave Act (“FMLA”), lacks sufficient

information to admit or to deny the allegations about Mr. Spillman submitting the FMLA claim

“under the direction” of Verizon Wireless, denies the allegations to the extent the Spillmans seek

to argue that the FMLA claim is relevant to or determinative of Mr. Spillman’s claim for STD

benefits under the Plan, and denies the other allegations of this paragraph of the amended

complaint.

       19.     In response to paragraph 14 of the amended complaint, MetLife admits that Mr.

Spillman submitted a claim to it for STD benefits under the Plan, denies that the date of the claim

was August 1, 2016, denies the allegations to the extent the Spillmans seek to argue that Mr.

Spillman was entitled to receive STD benefits under the Plan, and denies the other allegations of

this paragraph of the amended complaint.


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       20.     MetLife lacks sufficient information to admit or to deny the allegations of

paragraph 15 of the amended complaint.

       21.     MetLife lacks sufficient information to admit or to deny the allegations of

paragraph 16 of the amended complaint.

       22.     In response to paragraph 17 of the amended complaint, MetLife admits that it

issued a claim determination letter on August 19, 2016 denying Mr. Spillman’s STD claim,

admits the allegations to the extent that the Spillmans have accurately summarized information in

MetLife’s claim determination letter, denies that the Spillmans have summarized all of the

relevant information in MetLife’s claim determination letter, and denies the other allegations in

this paragraph of the amended complaint.

       23.     MetLife admits the allegations of paragraph 18 of the amended complaint.

       24.     In response to paragraph 19 of the amended complaint, MetLife denies that the

Spillmans filed “two appeals,” admits that MetLife informed the Spillmans of its need for

clinical evidence, admits that the Spillmans submitted copies of records of Mr. Spillman’s health

care providers in support of the single appeal, denies that the clinical records supported a finding

that Mr. Spillman was entitled to receive STD benefits under the Plan, and denies the other

allegations of this paragraph of the amended complaint.

       25.     MetLife denies the allegations of paragraph 20 of the amended complaint.

       26.     MetLife admits the allegations of paragraph 21 of the amended complaint.

       27.     In response to paragraph 22 of the amended complaint, MetLife lacks sufficient

information to admit or to deny the allegations about Mrs. Spillman’s work, denies the

allegations to the extent the Spillmans seek to argue that Mr. Spillman was entitled to receive


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STD benefits under the Plan, denies that Mrs. Spillman is entitled to receive any relief under the

Employee Retirement Income Security Act (“ERISA”) for her alleged damages, and denies the

other allegations of this paragraph of the amended complaint.

       28.     MetLife admits the allegations of paragraph 23 of the amended complaint.

       29.     MetLife admits the allegations of paragraph 24 of the amended complaint.

       30.     MetLife admits the allegations of paragraph 25 of the amended complaint.

       31.     MetLife admits the allegations of paragraph 26 of the amended complaint.

       32.     In response to paragraph 27 of the amended complaint, MetLife admits that Mr.

Spillman is a participant in the Plan, admits that Mr. Spillman’s coverage under the Plan began

on his first day of employment, lacks sufficient information to admit or to deny the allegations

about communications between Verizon Wireless and Mr. Spillman, denies the allegations to the

extent that Mr. Spillman seeks to argue for an entitlement to receive the STD benefits in dispute,

and denies the other allegations of this paragraph of the amended complaint.

       33.     In response to paragraph 28 of the amended complaint, MetLife admits that Mr.

Spillman is a participant in the Plan, denies the allegations to the extent that Mr. Spillman seeks

to argue for an entitlement to receive the STD benefits in dispute, and denies the other allegations

of this paragraph of the amended complaint.

       34.     In response to paragraph 29 of the amended complaint, MetLife lacks sufficient

information to admit or to deny the allegations about Verizon Wireless, denies the allegations to

the extent that the Spillmans intend them to relate to MetLife in any way, denies the allegations

to the extent that Mr. Spillman seeks to argue for an entitlement to receive the STD benefits in

dispute, and denies the other allegations of this paragraph of the amended complaint.


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       35.     In response to paragraph 30 of the amended complaint, MetLife lacks sufficient

information to admit or to deny the allegations about Verizon Wireless, denies the allegations to

the extent that the Spillmans intend them to relate to MetLife in any way, denies the allegations

to the extent that Mr. Spillman seeks to argue for an entitlement to receive the STD benefits in

dispute, and denies the other allegations of this paragraph of the amended complaint.

       36.     In response to paragraph 31 of the amended complaint, MetLife lacks sufficient

information to admit or to deny the allegations about Verizon Wireless, denies the allegations to

the extent that the Spillmans intend them to relate to MetLife in any way, denies the allegations

to the extent that Mr. Spillman seeks to argue for an entitlement to receive the STD benefits in

dispute, and denies the other allegations of this paragraph of the amended complaint.

       37.     In response to paragraph 32 of the amended complaint, MetLife lacks sufficient

information to admit or to deny the allegations about Verizon Wireless, denies the allegations to

the extent that the Spillmans intend them to relate to MetLife in any way, denies that Mr.

Spillman was eligible to receive STD benefits based on the terms of the Plan and the evidence in

the ERISA administrative record, and denies the other allegations of this paragraph of the

amended complaint.

       38.     In response to paragraph 33 of the amended complaint, MetLife lacks sufficient

information to admit or to deny the allegations about Verizon Wireless, denies the allegations to

the extent that the Spillmans intend them to relate to MetLife in any way, denies the allegations

to the extent that Mr. Spillman seeks to argue for an entitlement to receive the STD benefits in

dispute, denies that Mrs. Spillman has standing to assert a claim under ERISA, denies that Mrs.




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Spillman is entitled to any relief under ERISA, and denies the other allegations of this paragraph

of the amended complaint.

       39.     In response to paragraph 34 of the amended complaint, MetLife denies that the

Spillmans “are entitled to damages in the amount of three times the amount of the benefit” at

issue due to ERISA preempting the state law on which the Spillmans have based this claim,

denies that Mr. Spillman is entitled to any relief under ERISA, denies that Mrs. Spillman has

standing to assert a claim under ERISA, denies that Mrs. Spillman is entitled to any relief under

ERISA, and denies the other allegations of this paragraph of the amended complaint.

       40.     MetLife incorporates its preceding responses to the allegations in the amended

complaint in response to paragraph 35 of the amended complaint.

       41.     In response to paragraph 36 of the amended complaint, MetLife admits the

allegations to the extent that the Spillmans have accurately summarized 29 U.S.C. § 1132(c),

denies that Mr. Spillman may assert a claim against MetLife under 29 U.S.C. § 1132(c) due to

MetLife not being the designated Plan Administrator of the Plan, denies that Mrs. Spillman has

standing to assert a claim under ERISA, denies that Mrs. Spillman is entitled to any relief under

ERISA, and denies the other allegations of this paragraph of the amended complaint.

       42.     In response to paragraph 37 of the amended complaint, MetLife denies that it is

responsible for providing Plan documents to Plan participants or their representatives, denies that

Mr. Spillman may assert a claim against MetLife under 29 U.S.C. § 1132(c) due to MetLife not

being the designated Plan Administrator of the Plan, denies that Mrs. Spillman has standing to

assert a claim under ERISA, denies that Mrs. Spillman is entitled to any relief under ERISA, and

denies the other allegations of this paragraph of the amended complaint.


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       43.     In response to paragraph 38 of the amended complaint, MetLife denies that it is

responsible for providing Plan documents to Plan participants or their representatives, denies that

Mr. Spillman may assert a claim against MetLife under 29 U.S.C. § 1132(c) due to MetLife not

being the designated Plan Administrator of the Plan, denies that Mrs. Spillman has standing to

assert a claim under ERISA, denies that Mrs. Spillman is entitled to any relief under ERISA, and

denies the other allegations of this paragraph of the amended complaint.

       44.     MetLife incorporates its preceding responses to the allegations in the amended

complaint in response to the second paragraph of the amended complaint labeled as paragraph

“35” of the amended complaint.

       45.     In response to the second paragraph of the amended complaint labeled as

paragraph “36” of the amended complaint, MetLife admits that Verizon Wireless self-funds the

STD benefits of the Plan, denies the allegations to the extent Mr. Spillman seeks to argue for an

entitlement to receive the STD benefits in dispute, and denies the other allegations of this

paragraph of the amended complaint.

       46.     MetLife denies the allegations in the second paragraph of the amended complaint

labeled as paragraph “37” of the amended complaint.

       47.     MetLife admits the allegations in the second paragraph of the amended complaint

labeled as paragraph “38” of the amended complaint

       48.     In response to paragraph 39 of the amended complaint, MetLife admits that

Verizon Wireless is the Sponsor of the Plan, admits that Mr. Spillman is a participant in the Plan,

admits that Mr. Spillman’s coverage under the Plan began with his employment, denies the




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allegations to the extent that Mr. Spillman seeks to argue for an entitlement to receive the STD

benefits in dispute, and denies the other allegations of this paragraph of the amended complaint.

       49.     In response to paragraph 40 of the amended complaint, MetLife admits that Mr.

Spillman is a participant in the Plan, admits that Mr. Spillman’s coverage under the Plan began

with his employment, denies the allegations to the extent that Mr. Spillman seeks to argue for an

entitlement to receive the STD benefits in dispute, and denies the other allegations of this

paragraph of the amended complaint.

       50.     In response to paragraph 41 of the amended complaint, MetLife admits that Mr.

Spillman submitted a claim for STD benefits under the Plan, denies that Mr. Spillman was

entitled to receive STD benefits based on the terms of the Plan and the evidence in the ERISA

administrative record, admits that Mr. Spillman exhausted his administrative remedies relating to

the STD benefits in dispute, and denies the other allegations of this paragraph of the amended

complaint.

       51.     MetLife denies the allegations of paragraph 42 of the amended complaint.

       52.     MetLife denies the allegations of paragraph 43 of the amended complaint.

       53.     In response to the paragraph 44 of the amended complaint, MetLife lacks

sufficient information to admit or to deny the allegations to the extent that they relate to Verizon

Wireless, denies the allegations to the extent that they relate to MetLife in any way, and denies

the other allegations of this paragraph of the amended complaint.

       54.     In response to paragraph 45 of the amended complaint, MetLife admits that it

reasonably and correctly denied Mr. Spillman’s claim for STD benefits under the Plan and denies

the other allegations of this paragraph of the amended complaint.


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       55.     MetLife denies the allegations of paragraph 46 of the amended complaint.

       56.     MetLife denies the allegations of paragraph 47 of the amended complaint.

       57.     MetLife denies the allegations of paragraph 48 of the amended complaint.

       58.     MetLife denies the allegations of paragraph 49 of the amended complaint.

       59.     MetLife denies the allegations of paragraph 50 of the amended complaint.

       60.     In response to paragraph 51 of the amended complaint, MetLife admits that it

reasonably and correctly denied Mr. Spillman’s claim for STD benefits under the Plan and denies

the other allegations of this paragraph of the amended complaint.

       61.     MetLife denies the allegations of paragraph 52 of the amended complaint.

       62.     In response to paragraph 53 of the amended complaint, MetLife lacks sufficient

information to admit or to deny the allegations about Mr. Spillman’s communication with

Verizon Wireless, denies the allegations to the extent that Mr. Spillman seeks to argue for an

entitlement to receive the STD benefits in dispute, and denies the other allegations of this

paragraph of the amended complaint.

       63.     MetLife denies the allegations of paragraph 54 of the amended complaint.

       64.     MetLife denies the allegations of the second paragraph of the amended complaint

labeled as paragraph “37” of the amended complaint.

       65.     MetLife denies the allegations of the second paragraph of the amended complaint

labeled as paragraph “25” of the amended complaint

       66.     MetLife denies that the Spillmans are entitled to any of the relief listed in the

Prayer for Relief paragraph of the amended complaint.




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       67.     MetLife denies any allegation of the amended complaint to which it has not

already provided an admission, a denial, or a qualified response.

                                 FIRST AFFIRMATIVE DEFENSE

       ERISA preempts the claims asserted in the amended complaint that the Spillmans have

based on state law.

                                SECOND AFFIRMATIVE DEFENSE

       The claim under 29 U.S.C. § 1132(a)(3) is groundless as a matter of law, because Mr.

Spillman’s sole remedy arises under 29 U.S.C. § 1132(a)(1)(B).

                                 THIRD AFFIRMATIVE DEFENSE

       The claim under 29 U.S.C. § 1132(c) is groundless as a matter of law, because MetLife is

not the designated Plan Administrator of the Plan.

                                FOURTH AFFIRMATIVE DEFENSE

       The Spillmans’ amended complaint fails to state a claim upon which relief can be granted

based on ERISA, the administrative record, and the Plan.

                                 FIFTH AFFIRMATIVE DEFENSE

       Substantial evidence supported MetLife’s claim and appeal determinations concerning

Mr. Spillman’s claim for STD benefits under the Plan.

                                 SIXTH AFFIRMATIVE DEFENSE

       MetLife properly exercised its discretion in considering Mr. Spillman’s claim for STD

benefits under the Plan.




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                                 SEVENTH AFFIRMATIVE DEFENSE

       The Court’s review of Mr. Spillman’s claim for STD benefits under the Plan should be

limited to the evidence and the arguments presented to MetLife during the claim process.

                                  EIGHTH AFFIRMATIVE DEFENSE

       MetLife discharged its duties with respect to the Plan in the interests of the participants in

and the beneficiaries of the Plan, and, in doing so, MetLife acted in accordance with the

documents and the instruments governing the Plan.

                                  NINTH AFFIRMATIVE DEFENSE

       Mr. Spillman’s claims against MetLife are barred by failure or failures of conditions

precedent.

                                  TENTH AFFIRMATIVE DEFENSE

       Mr. Spillman’s claims against MetLife are barred, or their recovery, if any, on those

claims, are reduced by the terms of the Plan.

                                 ELEVENTH AFFIRMATIVE DEFENSE

       Although MetLife denies any liability, Mr. Spillman in the event of being awarded STD

benefits is entitled only to the retroactive award of STD benefits.

                                 TWELFTH AFFIRMATIVE DEFENSE

       Although MetLife denies any liability, there is no vesting of benefits under the Plan and

any claim for STD benefits based on an alleged continuing disability must be supported by proof

of such continuing disability.




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                              THIRTEENTH AFFIRMATIVE DEFENSE

       Although MetLife denies any liability, the approval of any STD benefits under the Plan is

subject to integration, offsets, and deductions as set forth under the terms the Plan.

                              FOURTEENTH AFFIRMATIVE DEFENSE

       Although MetLife denies any liability, ERISA provides only for an award of benefits due

under an employee benefits plan and for no other type of damages.

                               FIFTEENTH AFFIRMATIVE DEFENSE

       Mrs. Spillman does not have standing to assert a claim under ERISA relating to Mr.

Spillman’s claim for STD benefits under the Plan.

       THEREFORE, defendant Metropolitan Life Insurance Company requests that the Court

dismiss the amended complaint and enter an order awarding to it attorneys’ fees pursuant to 29

U.S.C. § 1132(g), costs, and such other relief as the Court deems to be proper.

       DATED this 15th day of October, 2019.

                                              Respectfully submitted,

                                              HOLLAND & HART LLP

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                             ATTORNEYS FOR DEFENDANT METROPOLITAN
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                              CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2019 I electronically filed the foregoing with the
Clerk of the Court using CM/ECF system, which will send notification of such filing to the
following e-mail addresses:

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                                           /s/ Jack M. Englert, Jr.
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